
USCA1 Opinion

	













        March 7, 1996           [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT



                                 ____________________


        No. 95-2010


                               DENNIS ALEXANDER MARTIN,

                                     Petitioner,

                                          v.

                       IMMIGRATION AND NATURALIZATION SERVICE,

                                     Respondent.


                                 ____________________

                        ON PETITION FOR REVIEW OF AN ORDER OF
                           THE BOARD OF IMMIGRATION APPEALS

                                 ____________________

                                        Before

                               Torruella, Chief Judge, 
                                          ___________
                            Cyr and Stahl, Circuit Judges.
                                           ______________

                                 ____________________

            Linda A. Cristello on brief for appellant.
            __________________


                                 ____________________


                                 ____________________





















                      Per Curiam.   Petitioner Dennis Martin  is a native
                      __________

            and citizen of Jamaica who legally entered this country as an

            immigrant in June 1988.  He  was convicted in April 1992 in a

            Massachusetts  Superior Court  of possession of  cocaine with

            intent to distribute.  The INS  then issued an Order to  Show

            Cause in July 1992  based on his conviction of  an aggravated

            felony.

                      An  immigration  judge  (IJ)  held   a  deportation

            hearing in  April 1994 at which petitioner was represented by

            an  attorney.     Deportability  was   conceded  and  Jamaica

            designated as the country  for deportation purposes.  Counsel

            then  asked for a continuance of 15 months so that petitioner

            could accumulate the seven  years required for an application

            for  discretionary   relief  under     212(c),   8  U.S.C.   

            1182(c).1   Petitioner  would  reach the  seven-year mark  in
                    1

            June 1995.

                      Although acknowledging the presence of  hardship --

            petitioner has a stammer  which he alleges cannot be  treated

            in  Jamaica and his mother who lives  here is blind -- the IJ


                                
            ____________________

               1Section 212(c) provides in relevant part:
               1

                        Aliens lawfully  admitted for permanent
                      resident [sic]  who temporarily proceeded
                      abroad voluntarily and not under an order
                      of deportation, and who are  returning to
                      a lawful unrelinquished domicile of seven
                      consecutive years, may be admitted in the
                      discretion of the Attorney General. . . .


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            determined that there  was no cause  to grant a  continuance.

            The  Board of Immigration  Appeals (BIA)  summarily dismissed

            the  appeal when  counsel failed  to file  a brief,  and this

            petition for review ensued.

                      Petitioner contends that the IJ should have granted

            a  continuance  so  that  he  could  apply  for  a     212(c)

            discretionary waiver.     An  IJ  may grant  a  motion for  a

            continuance "for good  cause shown."   8 C.F.R.    3.29.   We

            review the denial of  such a motion for abuse  of discretion.

            See  Baires v.  INS, 856  F.2d 89,  91 (9th  Cir. 1988).   In
            ___  ______     ___

            support of  his position  on review, petitioner  first argues

            that  as a  statute of  repose and  forgiveness,    212(c) is

            liberally construed  in favor of aliens.   He then analogizes

            his situation to a case  in which the BIA held that  a motion

            to  reopen  should be  granted where  an  alien has  filed an

            application for adjustment of status contemporaneously with a

            visa  petition.  See  Matter of Garcia,  16 I. &amp;  N. Dec. 653
                             ___  ________________

            (BIA 1978).

                      In Garcia, an IJ had ordered  the deportation of an
                         ______

            alien  as an overstay.   The alien  then moved  to reopen the

            proceedings  so that  he  could apply  for  an adjustment  of

            status pursuant to    245, 8 U.S.C.   1255.   Ordinarily, the

            INS required a prima  facie showing that, in addition  to the

            filing of an application for an adjustment, (1) the alien was

            eligible  to receive an immigrant  visa and was admissible to



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            the U.S. for permanent  residence, and (2) an  immigrant visa

            was  immediately  available to  him or  her  at the  time the
                 ___________  _________

            application  was  filed.    In  the  case  of  an  adjustment

            application  simultaneously filed  with a visa  petition, the

            INS  would   deny  the  application  because   the  visa,  by

            definition, would not be immediately available.

                 However, an  amendment to the INA  changed the provision

            for  dating the adjustment application.  As a result, the INS

            amended   the   regulations   specifically  to   permit   the

            simultaneous  filing  of  an  application  for  adjustment of

            status  and a visa petition.   In Garcia,  the BIA recognized
                                              ______

            that  to continue  the  practice  of  requiring  immediately-

            available  visas would  nullify the  new simultaneous  filing

            provision.   To give proper  effect to this  provision, then,

            the BIA  decided that  it would generally  reopen deportation

            proceedings unless  (1)  ineligibility was  apparent  on  the

            record, or (2) the adjustment application would  be denied on

            statutory grounds or as a matter of discretion, even were the

            visa  petition  approved.     In  this  way,  the  adjustment

            application would be retained until the INS ruled on the visa

            petition.

                      We find  Garcia inapposite.  First,  to be entitled
                               ______

            to reopening, the  alien's visa petition must  be prima facie

            approvable.   Petitioner's  attempt to  make this  showing in

            regard to  his  application  for a     212(c)  waiver  fails.



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            According to him, the IJ opined  that the hardship petitioner

            alleged would have  been the basis for a  "successful" waiver

            application.  However, the record does not reveal that the IJ

            made such a statement.  Rather, she stated that a continuance

            of  15  months to  enable petitioner  to  apply for    212(c)

            relief was  not a good  reason to grant  petitioner's motion,

            "understanding  that there are --  [that] this may  be a case

            where there are -- where  there is hardship.   Unfortunately,

            the [petitioner]  has been convicted of  an aggravated felony

            as he has admitted in his pleadings."  At most,  then, the IJ

            viewed  the case as possibly involving hardship.  Even if she
                                ________

            definitely had  determined the presence of hardship, however,

            she still  would need to balance the  humane factors favoring

            relief against the adverse factors favoring deportation.  See
                                                                      ___

            Matter of Marin,  16 I. &amp; N. Dec. 581  (BIA 1978); Gouveia v.
            _______________                                    _______

            INS, 980 F.2d 814, 816 (1st Cir. 1992).
            ___

                      Second,  as the  IJ pointed  out, petitioner  is an

            aggravated felon.   Indeed,  the last  sentence  of    212(c)

            provides that an  aggravated felon  who has  served at  least

            five years in prison is ineligible to apply for discretionary

            relief.   Unlike the amendment to   245, then, the changes to

               212(c)   in  regard   to  aggravated  felons   indicate  a

            restrictive  approach.   Further,  even  where,  as here,  an

            aggravated felon is entitled to make a    212(c) application,

            "it  is  incumbent upon  [such]  a  petitioner  not  only  to



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            demonstrate that favorable  factors preponderate but also  to

            present  'unusual or outstanding  equities' as a prerequisite

            for a waiver of excludability."  Gouveia, 980 F.2d at 816.
                                             _______

                      Without  deciding  whether such  equities  exist in

            this  case, we cannot say  that the denial  of a continuance,

            based in part on petitioner's status as an  aggravated felon,

            was in  derogation of the intent  of   212(c).   Here, the IJ

            refused a request to continue the proceedings for over a year

            so that  Martin could  file an application  for discretionary

            relief.   Given the length of time involved and the intent of

            Congress to deport  aggravated felons with  relative dispatch

            and to  deny them,  in some circumstances,  opportunities for

            relief from  deportation, we  conclude  that the  IJ did  not

            abuse her discretion in denying the motion for a continuance.

                      The  petition for  review  is summarily  dismissed.

            See  Local Rule  27.1.  The  motion for  a stay  is denied as
            ___

            moot.1
                 1













                                
            ____________________

               1The INS's denial of petitioner's motion for a stay may be
               1
            challenged  in a habeas corpus proceeding.  See, e.g., Dhangu
                                                        ___  ____  ______
            v. INS, 812 F.2d 455, 459 (9th Cir. 1987).
               ___

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